                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

In the matter of:
                                                               Case No. 08-68186
WILLIAM R. LEONARD
                                                               Chapter 7
and
                                                               Judge Thomas J. Tucker
CARMEN U. LEONARD,

                       Debtors.
                                         /

STUART A. GOLD, Trustee,

                       Plaintiff,

vs.                                                            Adv. Pro. No. 10-4608

MARQUETTE UNIVERSITY,

                       Defendant.
                                          /

       OPINION REGARDING CROSS-MOTIONS FOR SUMMARY JUDGMENT

        In this adversary proceeding, the Chapter 7 Trustee seeks to avoid and recover, as

fraudulent transfers, four payments that the Debtors made to Defendant Marquette University

(“Marquette”). The Debtors made these payments, totaling $21,527.00, to pay for their 18-year

old son’s tuition and certain other expenses to attend Marquette. The Trustee and Marquette

have each filed motions for summary judgment. The motions involve a number of issues,

including allegations of an oral express trust; alternative allegations of a constructive trust; and

what is “reasonably equivalent value” for fraudulent transfer purposes.

        For the reasons stated in this opinion, the Court will grant each party’s motion in part and

deny it in part.




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I. Facts

       Except as noted, the following facts are undisputed. The Debtors in this case, William

Leonard and Carmen Leonard, filed their joint Chapter 7 bankruptcy petition on November 17,

2008. The Chapter 7 Trustee, Stuart A. Gold, filed this adversary proceeding on February 17,

2010, and later filed an amended complaint on June 14, 2010. In his First Amended Complaint,1

the Trustee alleges that the Debtors paid Marquette $21,527.00 for their son’s tuition expenses

for the 2008-2009 academic year. The Trustee alleges that the Debtors made the following

transfers, by means of checks drawn on their joint checking account:

       Date                Check No.          Amount
       05-08-08            6959               $ 400.00
       08-18-08            7012               $11,084.00
       10-30-08            7064               $10,000.00
       11-02-08            7061               $    43.00
                                 Total        $21,527.002

At the time of these transfers, the Debtors’ son, Benjamin J. Leonard, was 18 years old. He

began attending Marquette in the Fall of 2008.

       Marquette admits that the Debtors made these four payments, by means of Debtor

Carmen Leonard writing checks payable to Marquette in the amounts listed above. In his

summary judgment motion, the Trustee continues to assert that the transfers were made on the

above dates. But the evidence presented by both the Trustee and Marquette in support of their

motions shows that the dates of two of these transfers were different from the dates alleged by




       1
           Docket # 19.
       2
           Id. at 2 ¶ 8.

                                                  2



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the Trustee. The evidence shows, beyond any genuine dispute, that the checks at issue were paid

by the Debtors’ bank, and therefore the transfers were made, on the following dates:3

        Date            Check No.               Amount
        05-08-08        6959                    $ 400.00
        08-18-08        7012                    $11,084.00
        11-05-08        7064                    $10,000.00
        11-20-08        7061                    $    43.00
                              Total             $21,527.00 4

Thus the first three of these transfers were made within the seven months preceding the Debtors’

bankruptcy, but the last transfer was made three days after the Debtors filed bankruptcy on

November 17, 2008.

        Marquette claims that the August 18, 2008 and November 5, 2008 transfers, ($11,084.00

and $10,000.00 respectively) were made with the proceeds of a student loan that the Debtors’ son

Benjamin obtained in August 2008.5 While there are certain disputes between the parties

regarding this subject, the following facts are undisputed. In July 2008, Benjamin Leonard

applied to JPMorgan Chase Bank, N.A. (“Chase”) for a student loan, in the amount of

$35,000.00. In the application, which was a document entitled “Private Education Loan

Application/Promissory Note and Credit Agreement,” Benjamin was designated as the “student




        3
           Cf. Barnhill v. Johnson, 503 U.S. 393, 394-95 (1992)(holding that for purposes of avoiding a
transfer as a preference under 11 U.S.C. § 547, “a transfer made by check should be deemed to occur . . .
on the date the drawee bank honors it”).
        4
           These dates are established by the Debtors’ bank statements and copies of the four checks at
issue, filed by the Trustee (Docket # 31, Exs. 6J, 6E), and by the Affidavit of the Debtor Carmen Leonard
filed by Marquette (Docket # 27, Ex. C at ¶¶ 10, 13, 15, 33, 34, 37-38).
        5
         Because the $43.00 transfer made on November 20, 2008 was a post-petition transfer, it cannot
be avoided as a fraudulent transfer under either § 548 or § 544(b) of the Bankruptcy Code. See
discussion in part IV-B-4 of this opinion.

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borrower.” Benjamin’s father, the Debtor William Leonard, was designated as “co-signer.”6

Benjamin and William signed this document, in these stated capacities, on July 23, 2008. Chase

approved the student loan, and mailed a check to Benjamin and William, jointly, at their home in

Birmingham, Michigan. The $35,000.00 check was made payable to “Benjamin J. Leonard &

William R. Leonard.”7 Benjamin Leonard indorsed the check and gave it to his mother, Debtor

Carmen Leonard, for deposit into her bank account. There is no specific evidence in the record

at this point that the Debtor William Leonard, the co-payee on the student loan check, indorsed

the check, but the check was deposited into the joint checking account of the Debtors, William

and Carmen Leonard, at Comerica Bank on August 8, 2008.8

        Marquette claims that when Benjamin Leonard indorsed the $35,000.00 student loan

check and gave it to his mother to deposit it into her bank account, Benjamin and his parents

understood that these funds were to be held in trust and used for education expenses for

Benjamin at Marquette and for Benjamin’s sister, who was then in high school. The Trustee

disputes this.




        6
            Docket # 27, Ex. A.
        7
            Docket # 31, Ex. 6D.
        8
         The exact date of this deposit is shown by the Debtors’ checking account statement for the
period July 19, 2008 to August 19, 2008, on the second page of that statement (Docket # 31, Ex. 6J). See
also Docket # 27, Ex. B (Aff. of Benjamin Leonard) ¶ 10; Ex. C (Aff. of Carmen Leonard) ¶¶ 6-8; and
Ex. D (Aff. of William Leonard) ¶¶ 9-11.

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II. Course of proceedings

        A. The Trustee’s claims

        In the single count of his First Amended Complaint, the Trustee seeks to avoid the four

transfers as fraudulent transfers, and recover them from the transferee, Marquette. The Trustee’s

single count alleges four separate grounds for avoiding the transfers. First, the Trustee alleges

that the transfers were made with “actual intent to hinder, delay or defraud” Debtors’ creditors,

and that the transfers are therefore avoidable under § 548(a)(1)(A) of the Bankruptcy Code and

under Michigan’s fraudulent transfer statutes, Mich. Comp. Laws §§ 566.34(1)(a) and 566.37.9

        Second, the Trustee alleges that the transfers are avoidable under the following provisions

of § 548(a)(1)(B):

                   The Trustee may avoid any transfer. . . of an interest of the debtor
                   in property,. . . that was made. . . on or within 2 years before the
                   date of the filing of the petition, if the debtor voluntarily or
                   involuntarily—


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            Section 548(a)(1)(A) states, in pertinent part, that:

                   The trustee may avoid any transfer . . . of an interest of the debtor in
                   property, . . . that was made. . . on or within 2 years before the date of
                   the filing of the petition, if the debtor voluntarily or involuntarily—

                   (A) made such transfer . . . with actual intent to hinder, delay, or defraud
                   any entity to which the debtor was or became, on or after the date that
                   such transfer was made . . ., indebted; . . .

11 U.S.C. § 548(a)(1)(A). The Michigan statute is similar. It permits avoidance of transfers made within
the preceding six years on several grounds, including a transfer made “[w]ith actual intent to hinder,
delay, or defraud any creditor of the debtor.” Mich. Comp. Laws § 566.34(1)(a).

         Such a transfer is avoidable under Mich. Comp. Laws § 566.37(1)(a). As a result, the Trustee
seeks to avoid the transfers under 11 U.S.C. § 544(b)(1), which permits the trustee to avoid “any transfer
of an interest of the debtor in property. . . that is voidable under applicable law by a creditor holding an
unsecured claim that is allowable under section 502 of this title or that is not allowable only under
section 502(e) of this title.”

                                                         5



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                        (B)(i) received less than a reasonably equivalent value in
                  exchange for such transfer. . . ; and

                         (ii)(I) was insolvent on the date that such transfer was
                  made. . . or became insolvent as a result of such transfer. . . ; and

                         (II) was engaged in business or a transaction, or was about
                  to engage in business or a transaction, for which any property
                  remaining with the debtor was an unreasonably small capital; [or]

                          (III) intended to incur, or believed that the debtor would
                  incur, debts that would be beyond the debtor’s ability to pay as
                  such debts matured; . . .

11 U.S.C. § 548(a)(1)(B).

        Third, the Trustee alleges that the transfers are avoidable under Mich. Comp. Laws

§ 566.35(1), which is virtually identical to Bankruptcy Code § 548(a)(1)(B)(i) and (ii)(I).10

Fourth and finally, the Trustee alleges that the transfers are avoidable under Mich. Comp. Laws

§ 566.34(1)(b).11


        10
             Mich. Comp. Laws § 566.35(1) states:

                  A transfer made. . . by a debtor is fraudulent as to a creditor whose claim
                  arose before the transfer was made. . . if the debtor made the transfer. . .
                  without receiving a reasonably equivalent value in exchange for the
                  transfer. . . and the debtor was insolvent at that time or the debtor
                  became insolvent as a result of the transfer. . . .
        11
           Mich. Comp. Laws § 566.34(1)(b) is similar to Bankruptcy Code § 548(a)(1)(B)(i) and (ii)(II)
and (III). It states:

                  A transfer made. . . by a debtor is fraudulent as to a creditor, whether the
                  creditor's claim arose before or after the transfer was made. . ., if the
                  debtor made the transfer. . . in either of the following:
                  ...

                  (b) Without receiving a reasonably equivalent value in exchange for the
                  transfer. . . , and the debtor did either of the following:
                                                                                                 (continued...)

                                                       6



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        B. The cross-motions for summary judgment

        The Trustee seeks partial summary judgment, avoiding the four transfers as fraudulent

under the constructive fraudulent transfer grounds in Bankruptcy Code § 548(a)(1)(B) and Mich.

Comp. Laws § 566.35(1). The Trustee argues that each transfer was a transfer of property of the

Debtors, made while the Debtors were insolvent, for which the Debtors did not receive

reasonably equivalent value in exchange.12

        Marquette seeks summary judgment on all of the Trustee’s fraudulent transfer theories,

with respect to each of the transfers. Marquette does not dispute the Trustee’s evidence and

argument that the Debtors were insolvent when the transfers were made. Rather, Marquette

argues that, at least with respect to the last three of the four transfers, there was no transfer of

property of the Debtors. And Marquette seeks summary judgment on the Trustee’s constructive

fraudulent transfer claims on the additional ground that the Debtors received “reasonably

equivalent value” for each of the transfers.

        The Court held a hearing on the motions, and then permitted limited post-hearing briefing

relating to issues of “reasonably equivalent value.” The motions are now ready for decision.

III. Jurisdiction


        11
             (...continued)
                   (i) Was engaged or was about to engage in a business or a transaction for
                   which the remaining assets of the debtor were unreasonably small in
                   relation to the business or transaction.
                   (ii) Intended to incur, or believed or reasonably should have believed
                   that he or she would incur, debts beyond his or her ability to pay as they
                   became due.
        12
           The Trustee does not seek summary judgment on his “actual intent” theory of fraudulent
transfer, which require the Trustee to prove that the Debtors made the transfers “with actual intent to
hinder, delay, or defraud” creditors. See 11 U.S.C. § 548(a)(1)(A); Mich. Comp. Laws § 566.34(1)(a).

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        This Court has subject matter jurisdiction over this adversary proceeding under 28 U.S.C.

§§ 1334(b), 157(a) and 157(b)(1), and Local Rule 83.50(a) (E.D. Mich.). The single count of the

Trustee’s complaint seeks to avoid fraudulent transfers under 11 U.S.C. § 548, and under the

combination of 11 U.S.C. § 544(b)(1) and Michigan fraudulent transfer statutes. The complaint

also seeks to recover the transfers, once avoided, under 11 U.S.C. § 550. All of the Trustee’s

claims are core proceedings. See 28 U.S.C. § 157(b)(2)(H); Bliss Techs., Inc. v. HMI Indus., Inc.

(In re Bliss Techs., Inc.), 307 B.R. 598, 603-06 (Bankr. E.D. Mich. 2004).

IV. Discussion

        A. Summary judgment standard

        Fed.R.Civ.P. 56(a), applicable to bankruptcy adversary proceedings under Fed.R.Bankr.P.

7056, provides that a motion for summary judgment “shall” be granted “if the movant shows that

there is no genuine dispute as to any material fact and the movant is entitled to judgment as a

matter of law.”13 In Cox v. Kentucky Dep’t of Transp., 53 F.3d 146, 149-50 (6th Cir. 1995), the

court elaborated:

                The moving party has the initial burden of proving that no genuine
                issue of material fact exists and that the moving party is entitled to
                judgment as a matter of law. To meet this burden, the moving
                party may rely on any of the evidentiary sources listed in Rule
                56(c) or may merely rely upon the failure of the nonmoving party
                to produce any evidence which would create a genuine dispute for
                the [trier of fact]. Essentially, a motion for summary judgment is a



        13
            The quoted language is from the version of Rule 56 as amended effective December 1, 2010.
Before the 2010 amendment, Rule 56(c)(2) stated that a motion for summary judgment should be granted
“if the pleadings, the discovery and disclosure materials on file, and any affidavits show that there is no
genuine issue as to any material fact and that the movant is entitled to a judgment as a matter of law.”
This Court’s decision on the motions now before it is unaffected by the 2010 amendment to Rule 56; it
would be the same under either version of Rule 56.

                                                     8



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               means by which to challenge the opposing party to ‘put up or shut
               up’ on a critical issue.

               If the moving party satisfies its burden, then the burden of going
               forward shifts to the nonmoving party to produce evidence that
               results in a conflict of material fact to be resolved by [the trier of
               fact]. In arriving at a resolution, the court must afford all
               reasonable inferences, and construe the evidence in the light most
               favorable to the nonmoving party. However, if the evidence is
               insufficient to reasonably support a . . . verdict in favor of the
               nonmoving party, the motion for summary judgment will be
               granted. Thus, the mere existence of a scintilla of evidence in
               support of the plaintiff's position will be insufficient; there must be
               evidence on which the [trier of fact] could reasonably find for the
               plaintiff.
               ...
                        Finally, the Sixth Circuit has concluded that, in the “new
               era” of summary judgments that has evolved from the teachings of
               the Supreme Court in Anderson [v. Liberty Lobby, Inc., 477 U.S.
               242 (1986)], Celotex [Corp. v. Catrett, 477 U.S. 317 (1986)] and
               Matsushita [Electric Indus. Co., Ltd. v. Zenith Radio Corp., 475
               U.S. 574 (1986)], trial courts have been afforded considerably
               more discretion in evaluating the weight of the nonmoving party’s
               evidence. The nonmoving party must do more than simply show
               that there is some metaphysical doubt as to the material facts. If
               the record taken in its entirety could not convince a rational trier of
               fact to return a verdict in favor of the nonmoving party, the motion
               should be granted.

Id. (internal quotation marks and citations omitted). In determining whether the moving party

has met its burden, a court must “believe the evidence of the nonmovant, and draw all justifiable

inferences in favor of the nonmovant.” Ingram v. City of Columbus, 185 F.3d 579, 586 (6th

Cir.1999)(relying on Russo v. City of Cincinnati, 953 F.2d 1036, 1041-42 (6th Cir.1992)).




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B. Marquette’s motion for summary judgment

       1. Marquette’s argument that there was an oral express trust

       a. The argument

       Marquette argues that none of the transfers, except possibly the first transfer of $400.00

on May 8, 2008, was a transfer of “an interest of the debtor[s] in property,” one of the necessary

elements of a fraudulent transfer under Bankruptcy Code § 548(a)(1)(B). Rather, Marquette

argues, the transfers were made from student loan funds held by the Debtors in trust for their son

Benjamin. There was no written trust agreement regarding these funds, but Marquette argues

that an oral express trust existed, under which the Debtors held the proceeds of Benjamin

Leonard’s $35,000 student loan in their joint checking account in trust for Benjamin, to be used

at Benjamin’s direction and for the purposes of paying Benjamin’s tuition and expenses to attend

Marquette, as well as high school tuition and expenses of Benjamin’s sister.

       As noted above, the $35,000 student loan check was deposited into the Debtors’ joint

checking account on August 8, 2008, and the Debtors made two pre-petition check transfers from

that account to Marquette for Benjamin’s tuition, of $11,084.00 on August 18, 2008 and

$10,000.00 on November 5, 2008.

       The other two transfers alleged in the Trustee’s First Amended Complaint are not subject

to Marquette’s express trust argument. The first transfer, of $400.00 on May 8, 2008, could not

have come from Benjamin’s student loan funds, because the loan funds were not received until

August 8, 2008. Marquette does not otherwise argue that this transfer was not a transfer of

Debtors’ property. And as discussed elsewhere in this opinion, the fourth transfer, of $43.00 on




                                                10



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November 20, 2008, was a post-petition transfer, and for that reason is not subject to avoidance

under the any of the Trustee’s fraudulent transfer theories.

        b. Why Marquette’s argument matters

        The Sixth Circuit has held that when a debtor holds property in trust for another, and

makes a pre-petition transfer of such property, the transfer is not subject to avoidance as a

fraudulent transfer under Bankruptcy Code § 548. See Stevenson v. J.C. Bradford & Co. (In re

Cannon), 277 F.3d 838, 849-52 (6th Cir. 2002). The court held that because the debtor holds

only legal title, and not equitable title, to such trust property, the transfer of such property is not a

transfer of “an interest of the debtor in property” within the meaning of § 548. Id.; see also

Meoli v. Kendall Electric., Inc. (In re R.W. Leet Electric, Inc.), 372 B.R. 846, 852-53 (B.A.P. 6th

Cir. 2007).

        Unlike Bankruptcy Code § 548, the Michigan fraudulent transfer statutes relied upon by

the Trustee do not explicitly require that a transfer be a transfer of the debtor’s property in order

to be avoidable. But the Michigan avoidance statutes are available to the Trustee through

Bankruptcy Code § 544(b)(1), and § 544(b)(1) does require that there be a transfer of the debtor’s

property. It uses the same phrase that is used in § 548, in authorizing avoidance only of a

“transfer of an interest of the debtor in property . . . that is voidable under applicable law . . ..”

11 U.S.C. § 544(b)(1)(emphasis added).

        Thus, whether avoidance is based on § 548 or on the combination of state law and

§ 544(b)(1), the Trustee cannot prevail if the transfer was only a transfer of trust property in

which the Debtors held only legal title.




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        c. Michigan law on oral express trusts

        As the parties note, property interests generally are determined by reference to state law.

See Butner v. United States, 440 U.S. 48, 55 (1979); accord French v. Frey (In re Bergman), 467

F.3d 536, 538 (6th Cir. 2006)(citing Butner)(“Unless a federal interest is at issue, property rights

are defined by state law.”)

        Under Michigan law, an express trust may be established orally, at least with respect to

personal property. Osius v. Dingell, 134 N.W.2d 657, 660 (Mich. 1965) (citation omitted), cited

by both parties, held that “a valid trust in personalty may be created by parol.” But “[t]o establish

a trust of personalty, [the] parol evidence must be clear and satisfactory and find some support in

the surrounding circumstances and conduct of the parties.” Id. (citation omitted). “It is a general

principle of trust law that a trust is created only if the settlor manifests an intention to create a

trust, and it is essential that there be an explicit declaration of trust accompanied by a transfer of

property to one for the benefit of another.” Id. (citations omitted); see also Children of

Chippewa, Ottawa and Potawatomy Tribes v. Regents of Univ. of Michigan, 305 N.W.2d 522,

526 (Mich. Ct. App. 1981)(same); see generally Scarney v. Clarke, 275 N.W. 765, 767 (Mich.

1937)(citation and internal quotation marks omitted)(“To constitute an express trust there must

be an explicit declaration of trust, or circumstances which show beyond reasonable doubt that a

trust was intended to be created.”).

        d. The evidence

        Marquette argues that the facts support a finding of an express oral trust. Marquette

claims that the $35,000 in student loan proceeds were the res of the trust; that there was an

“unambiguous trust relationship” in the form of a parent-child relationship; and that the Debtor


                                                   12



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Carmen Leonard undertook a “specific, affirmative duty” to pay the educational expenses of

Benjamin and his two sisters.14

        Marquette’s express trust claim is supported by the affidavits of Benjamin Leonard and

both of the Debtors. Benjamin’s affidavit states that he indorsed the student loan check and gave

it to his mother, Debtor Carmen Leonard, “for deposit into her bank account and to be held in

trust” for his and his sister’s educational expenses.15 Similarly, Debtor Carmen Leonard’s

affidavit states her understanding that the student loan proceeds were to be deposited into the

Debtors’ checking account “to be held in trust and used for tuition payments to both Marquette”

and the sister’s high school. Debtor William Leonard’s affidavit states that “at all times” he

understood that the loan proceeds “were being held in trust for the funding of Benjamin[’]s and

[his sister’s] educations.”16

        In deciding Marquette’s motion for summary judgment, however, the Court “must afford

all reasonable inferences, and construe the evidence in the light most favorable to the nonmoving

party,” here the Trustee. Ky. Dep’t of Transp., 53 F.3d at 149-50. Applying this standard, the

Court concludes that the Trustee has pointed out circumstantial evidence upon which a trier of

fact “could reasonably find” that there was no oral express trust. Id.

        First, the evidence indicates that even though Benjamin Leonard was 18 years old (and

therefore an adult) at the time, the $35,000 student loan check was made payable jointly to both

Benjamin Leonard “and” Debtor William Leonard. This is evidence that the Debtor William


        14
             Docket # 27, Def.’s Br. at 8.
        15
             Docket # 27, Benjamin Leonard Aff. ¶ 10.
        16
             Docket # 27, Carmen Leonard Aff. ¶ 8; William Leonard Aff. ¶ 15.

                                                   13



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Leonard, who was at least contingently liable as a “co-signer” on the loan,17 had a one-half

ownership interest in the loan proceeds. See Versai Mgmt. Corp. v. Citizens First Bank, No. 08-

15129, 2010 WL 1417798, at *3 (E.D. Mich. April 5, 2010)(citation omitted)(“A check is

considered the personal property of the designated payees.”); Mich. Comp. Laws § 440.3110(4)

(check paid to two or more persons not in the alternative is payable to all, and can only be

negotiated by all payees); see also Progressive Universal Ins. Co. of Ill. v. Taylor, 874 N.E.2d

910, 915 (Ill. Ct. App. 2007)(citations omitted)(the “issuance of an instrument to joint payees

creates a presumption that each payee has an equal ownership interest in the

instrument”)(applying Illinois law). If Benjamin only owned one half of the student loan funds,

he could not have acted as settlor and created an oral express trust in the other half of the funds.

Instead, the other half of the funds were property of the Debtor, William Leonard.

        Second, the fact that the $35,000 student loan check was deposited into the joint account

of the Debtors, in which Benjamin Leonard had no ownership interest, creates a rebuttable

presumption under Michigan law that those deposited funds were the property of the Debtors, as

the owners of the account, and not Benjamin. To rebut such presumption, “an adverse claimant

must show a clear and perfect title” to such funds. See Muskegon Lumber & Fuel Co. v.

Johnson, 62 N.W.2d 619, 622-23 (Mich. 1954)(citation omitted); see also Danielson v. Lazoski,

531 N.W.2d 799, 801 (Mich. Ct. App. 1995)(rebuttable presumption that holders of joint bank



        17
            William signed the loan documents as a “co-signer.” For purposes here, this means that
William had, at least, contingent liability for the student loan. Cf. In re Lipa, 433 B.R. 668, 670 (Bankr.
E.D. Mich. 2010) (“Generally the classic example of a contingent debt is a guaranty because the
guarantor has no liability unless and until the principal defaults.”)(citation and quotation marks omitted).
It is not necessary at this point for the Court to decide whether William was actually just a codebtor on
the loan, with the same non-contingent liability that Benjamin had, as the Trustee contends.

                                                     14



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account share equal ownership); Taunt v. Hurtado (In re Hurtado), 342 F.3d 528, 535 (6th Cir.

2003)(citing Muskegon Lumber for the proposition that funds deposited into the bank account of

the debtor’s mother were “presumptively hers”).

        Third, the assertion of an express trust is called into question, at least somewhat, by the

fact that the student loan funds were deposited into Debtors’ general checking account, and

thereby commingled with the other funds in that account, which belonged only to the Debtors.

Neither Benjamin nor the Debtors created a separate account to hold only the student loan funds.

Nor did Carmen set up a joint account with Benjamin that would permit her to write checks on

the account to pay Benjamin’s educational expenses. Any of these steps might have indicated an

intent to hold the loan funds in trust.

        Fourth, there is evidence that after the student loan funds were deposited into Debtors’

joint checking account, the Debtors used the loan funds for their own benefit, for purposes other

than paying the education expenses of Benjamin and his sister. It is undisputed, for example, that

on September 3, 2008, Debtor Carmen Leonard used $12,398.14 of the loan funds to pay the

property taxes on the Debtors’ home.18

        This evidence tends to show that the student loan funds were not held in trust for the sole

purpose of paying the educational expenses of Benjamin and his sister, as Marquette alleges.

Marquette attempts to explain this evidence away by citing Debtor Carmen Leonard’s

explanation — that before she made this large property tax payment, she made an agreement with

Benjamin that the funds would be replenished shortly with a federal income tax refund of

approximately $18,800 that the Debtors were expecting. The affidavits of Carmen Leonard and


        18
             Docket # 27, Aff. of Carmen Leonard ¶ 23.

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Benjamin Leonard support these assertions. And Debtors in fact did receive such a tax refund,

totaling $18,870.00, in two installments that were direct-deposited into their joint checking

account on September 25 and 29, 2008.19

        Viewing all of the evidence in the current record in a light most favorable to the Trustee,

however, the Court concludes that there is a genuine dispute of material fact as to whether an oral

express trust was created. There is evidence both in support of and refuting the existence of an

oral express trust. The Court therefore must deny Marquette’s summary judgment motion to the

extent it is based on the existence of an oral express trust.20

        2. Marquette’s alternative argument, that if there was not an oral express trust,
           then a constructive trust existed

        Marquette makes an alternative argument, that if there was not an oral express trust, then

the $35,000.00 in student loan funds were impressed with a constructive trust, for the benefit of

Benjamin Leonard and his sister, under Michigan law. Under this alternative theory, Marquette

argues, the funds transferred were not the property of the Debtors.

        The Court must reject this argument. The Sixth Circuit’s decision in XL/Datacomp, Inc.

v. Wilson (In re Omegas Grp., Inc.), 16 F.3d 1443 (6th Cir. 1994) and its progeny preclude

Marquette’s constructive trust argument. In Omegas Group, the Sixth Circuit held that

“[b]ecause a constructive trust, unlike an express trust, is a remedy, it does not exist until a

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             Id. at ¶ 22, 23, 28-30; Docket # 27, Benjamin Leonard Aff., ¶¶ 22-23, 25-26.
        20
            Because the Court finds that genuine issues of material fact exist regarding the existence of an
express oral trust, it is not necessary, at this time, to discuss the Trustee’s arguments regarding tracing.
(The Trustee argues that Marquette has the burden, but has not met its burden, to trace the alleged trust
funds under the “lowest intermediate balance rule.” See Meoli v. Kendall Electric, Inc.(In re R.E. Leet
Electric, Inc.), 372 B.R. 846, 853-57 (B.A.P. 6th Cir. 2007)(holding that under Sixth Circuit precedent
express trust funds must be traced; the burden to do so is on defendant; and tracing “involves application
of the ‘lowest intermediate balance rule’”).)

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plaintiff obtains a judicial decision finding him to be entitled to a judgment ‘impressing’

defendant’s property or assets with a constructive trust.” Id. at 1451. Under Omegas Group,

only “‘property already impressed with a constructive trust by a court in a separate proceeding

prepetition’ [is] to be excluded from a bankrupt’s estate.” McCafferty v. McCafferty (In re

McCafferty), 96 F.3d 192, 197 (6th Cir. 1996)(emphasis added)(quoting Omegas Group, 16 F.3d

at 1451).

       In this case, no prior judicial action imposed a pre-petition constructive trust on the

student loan funds. Nor is this a case like the McCafferty case, in which the Sixth Circuit held

that because of an Ohio state court divorce judgment awarding property to one of the spouses, a

constructive trust arose by operation of Ohio law. See McCafferty, 96 F.3d at 197; see also In re

Combs, 435 B.R. 467, 477-79 (Bankr. E.D. Mich. 2010)(constructive trust existed by operation

of Michigan law in pension funds held by debtor for the benefit of former spouse, based on state

court divorce judgment). Unlike McCafferty, in this case there was no “judicial action” of any

kind regarding the student loan funds at issue, prior to Debtors’ bankruptcy. See McCafferty, 96

F.3d at 199. Nor does Marquette cite any Michigan statute that creates a trust in this situation.

See Omegas Group, 16 F.3d at 1451 (Omegas court was not “address[ing] property that a state by

statute has declared to be held in trust for particular purposes.”)

       Because no pre-petition judicial action imposed a constructive trust on the student loan

funds, the Court cannot now find or impose a constructive trust. The Court, therefore, must deny

Marquette’s summary judgment motion to the extent it is based on the argument that the student

loan funds were subject to a constructive trust.




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       3. Marquette’s argument that the Debtors received “reasonably equivalent value”
          for the transfers in any event

       Marquette argues that even if the transfers were transfers of the Debtors’ property, the

Debtors received “reasonably equivalent value” for the transfers, because the transfers enabled

their son to attend and receive a college education at Marquette. This argument, if successful,

would negate an essential element of all of the Trustee’s constructive fraudulent transfer theories

under Bankruptcy Code § 548(a)(1)(B) and Michigan law.

       The Trustee argues that the entire “value” received in exchange for the tuition paid by

Debtors was received by a third party, Benjamin. Marquette acknowledges this direct benefit to

Debtors’ son, but argues that Debtors also received “value,” and indeed, “reasonably equivalent

value,” for the tuition payments made to Marquette, in the form of intangible benefits: (1) “their

son received an education” which “bestowed peace of mind” on the Debtors that Benjamin “will

be afforded opportunities” in life that would not have come but for the education; and (2)

Debtors “anticipate that they will not remain financially responsible” for Benjamin.21

       The Bankruptcy Code does not define the phrase “reasonably equivalent value.” But the

Code defines “value,” for purposes of § 548, as “property, or satisfaction or securing of a present

or antecedent debt of the debtor, but [it] does not include an unperformed promise to furnish

support to the debtor or to a relative of the debtor.” 11 U.S.C. § 548(d)(2)(A).

       Similarly, the Michigan fraudulent transfer statutes use, but do not define, the phrase

“reasonably equivalent value.” See Mich. Comp. Laws §§ 566.35(1), 566.34(1)(b), quoted in

footnotes 10 and 11 of this opinion. And they define “value” in terms virtually identical to



       21
            Docket # 37, Def.’s Br. at 5.

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Bankruptcy Code § 548’s definition. See Mich. Comp. Laws § 566.33(1).22 Thus, “reasonably

equivalent value” under the Michigan statute means the same thing that it does under Bankruptcy

Code § 548. See generally Steinberg v. Young, No. 09-11836, 2010 WL 1286606, at *3-4 (E.D.

Mich. March 31, 2010) (“Michigan Courts have imported the analysis used in the Federal

Bankruptcy Code” in determining “reasonably equivalent value” under the Michigan Uniform

Fraudulent Transfer Act)(citing Willecke v. Toth, No. 07-14676, 2009 WL 3153081, at *4 (E.D.

Mich. September 30, 2009)).

        The Sixth Circuit discussed the § 548 concepts of “value” and “reasonably equivalent

value” in Lisle v. John Wiley & Sons, Inc. (In re Wilkinson), 196 Fed.App’x. 337, No. 05-5744,

2006 WL 2380887 (6th Cir. Aug. 17, 2006).23 In Lisle, the court held that “[a] court considering


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             That statute says, in pertinent part, that:

                  Value is given for a transfer or an obligation if, in exchange for the
                  transfer or obligation, property is transferred or an antecedent debt is
                  secured or satisfied. Value does not include an unperformed promise
                  made otherwise than in the ordinary course of the promisor's business to
                  furnish support to the debtor or another person.
        23
            Lisle is an unpublished Sixth Circuit case. The Sixth Circuit’s rules now permit the citation of
unpublished decisions, without limitation. 6th Cir. R. 28(f). When Lisle was decided in 2006, however,
the Sixth Circuit’s rules restricted the citation of its unpublished opinions. Sixth Circuit Rule 28(g) then
in effect stated, in pertinent part:

                  Citation of unpublished decisions in briefs and oral arguments in this
                  Court and in the district courts within this Circuit is disfavored, except
                  for the purpose of establishing res judicata, estoppel, or the law of the
                  case. If a party believes, nevertheless, that an unpublished disposition
                  has precedential value in relation to a material issue in a case, and that
                  there is no published opinion that would serve as well, such decision
                  may be cited if that party serves a copy thereof on all other parties in the
                  case and on this Court.

The Sixth Circuit amended this local rule, effective January 27, 2007. The amendment was made in
response to the adoption of Fed.R.App.P. 32.1, effective December 1, 2006, which precludes courts from
                                                                                          (continued...)

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[the question of “reasonably equivalent value”] should first determine whether the debtor

received any value in the exchange. If so, the court should determine if the value received was

reasonably equivalent.” 196 Fed.App’x. at 341 (emphasis in original)(citation omitted). The

court further held that “[v]alue can be in the form of either a direct economic benefit or an

indirect economic benefit.” Id. at 342. The court discussed the situation in which the

debtor/transferor does not receive a direct benefit in exchange for the transfer, but rather receives

an “indirect” benefit, “through benefit to a third person.” The court noted:

             “It is well settled that ‘reasonably equivalent value can come from one
             other than the recipient of the payments, a rule which has become known
             as the indirect benefit rule.’ ” (citations omitted). The indirect benefit rule
             was first explained in Rubin v. Manufacturers Hanover Trust Co.:

                        [A] debtor may sometimes receive “fair”
                        consideration even though the consideration given
                        for his property or obligation goes initially to a third
                        person.... [T]he transaction's benefit to the debtor
                        need not be direct; it may come indirectly
                        through benefit to a third person.... If the
                        consideration given to the third person has
                        ultimately landed in the debtor's hands, or if the
                        giving of the consideration to the third person
                        otherwise confers an economic benefit upon the
                        debtor, then the debtor's net worth has been
                        preserved, and [the statute] has been satisfied-
                        provided, of course, that the value of the benefit
                        received by the debtor approximates the value of
                        the property or obligation he has given up.

             661 F.2d 979, 991-92 (2d Cir.1981)(internal quotation marks and citations
             omitted).


        23
           (...continued)
prohibiting the citation of federal judicial opinions that are designated as unpublished and that are
“issued on or after January 1, 2007.” But the current Sixth Circuit Rules do not limit the use even of
unpublished opinions issued before January 1, 2007. Rather, current Sixth Circuit Rule 28(f) broadly
states that “[c]itation of unpublished opinions is permitted.”

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Id. at 342 (bold emphasis added).

       In this case the “value,” in the form of a benefit that was given by Marquette in exchange

for the Debtors’ making tuition payments for their son, went directly to the Debtors’ son

Benjamin, who was able to attend and receive a college education at Marquette. The benefit

from this to the Debtors, if any, was indirect, because any benefit to the Debtors was derived

from the benefit to their son. This is not a case, for example, where the Debtors’ tuition

payments to Marquette satisfied some antecedent debt that the Debtors owed to Marquette. In

that scenario, not present in this case, Debtors’ tuition payments could be deemed “value” in the

form of a direct economic benefit to the Debtors.

       The Lisle case also involved an indirect benefit to the debtor/transferor. In Lisle, the

bankruptcy debtor Wallace Wilkinson paid $1 million from his personal funds to John Wiley &

Sons, Inc. (“Wiley”), a book publisher, for a shipment of books that Wiley sold to Wallace’s

Bookstore, Inc. (“WBI”). The debtor Wilkinson was the majority shareholder of WBI. At the

time of Wilkinson’s $1 million transfer to Wiley, Wilkinson owed $60 million to WBI. WBI

credited Wilkinson with a $1 million reduction in Wilkinson’s debt to WBI. 196 Fed.App’x at

337-38, 342. Thus, in exchange for Wilkinson’s $1 million payment to Wiley, the following

benefits flowed: (1) a direct economic benefit flowing from Wiley to WBI, in the form of a

shipment of books that Wiley sold to WBI; and (2) an indirect economic benefit flowing from

WBI to the debtor Wilkinson, in the form of a $1 million credit against Wilkinson’s debt to WBI.

The Sixth Circuit characterized the latter benefit as “indirect,” because “the benefit Wilkinson

received did not come from Wiley,” the transferee of Wilkinson’s $1 million transfer, but rather

from WBI. Id. at 342.


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       In Lisle, the Sixth Circuit held that when the benefit to the debtor/transferor is indirect,

the fraudulent transfer defendant has the burden of showing that the indirect benefit to the

debtor/transferor is “concrete and quantifiable,” and has the burden of quantifying the benefit.

Id. (citing cases, with approval). This burden can be difficult to meet in the case of an intangible,

indirect benefit; as the Lisle court noted:

           The burden of showing that the benefit is concrete and quantifiable can be
           challenging in a case where the alleged benefit is goodwill, corporate
           synergy, a business opportunity, the continuation of a business
           relationship, or some other intangible benefit.

Id. (citations omitted). In the Lisle case, the court found that the indirect benefit to the debtor

Wilkinson — a $1 million reduction in Wilkinson’s debt to WBI — was concrete and

quantifiable. Id.

       Finally, the Lisle court held that whether the benefit to a debtor from a transfer is direct or

indirect, it must be an “economic” benefit to the debtor in order to be considered “value.” Id.

(“Value can be in the form of either a direct economic benefit or an indirect economic benefit.”)

As the Lisle court held: “The district court rightly stated that ‘the focus should be on the overall

effect on the debtor's net worth after the transfer.’” Id. at 343 (citations omitted).

       Thus, under the Sixth Circuit’s decision in Lisle, an indirect benefit to the debtor from a

transfer is not considered “value,” and therefore cannot be “reasonably equivalent value,” unless

it is (1) an “economic” benefit; (2) concrete; and (3) quantifiable.

       Applying these requirements to this case, it is clear that the Debtors did not receive any

“value” for their tuition payments to Marquette, and therefore did not receive “reasonably

equivalent value.” Marquette points to no economic benefit to the Debtors, other than to



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speculate that a college education for Debtors’ son may in the future enable him to be financially

independent of his parents, and thereby relieve Debtors of any need to financially support their

son. But Marquette does not argue, and cannot demonstrate, that Debtors had or would have any

legal obligation to support their adult son, either at the time of the transfers, when Debtors’ son

was 18 years old, or at any time in the future. And even if Debtors had such a legal obligation, it

is nothing but speculation to suggest that Debtors’ payment of tuition for their son’s first

semester of college at Marquette will make a difference between the Debtors needing to assist

their son financially in the future and not needing to do so.

       And as noted above, Marquette does not claim that the Debtors had any legal duty under

Michigan law to pay for their adult son’s college education. So Debtors’ payment of such

college tuition did not discharge or satisfy any legal duty on Debtors’ part.

       Understandably, Debtors may have felt a moral obligation to help their son pay for

college, which the tuition payments helped satisfy. And Marquette argues that paying

Benjamin’s first-semester tuition “bestowed peace of mind” on the Debtors that Benjamin “will

be afforded opportunities” in life that would not have come but for the education he received at

Marquette. While satisfying such a moral obligation and receiving such “peace of mind” may be

very real benefits that are personally quite important to the Debtors, these intangible benefits are

not “economic” benefits to the Debtors. Nor are they “concrete” and “quantifiable” benefits.

Under Lisle, then, such benefits do not qualify as “value” under § 548. The Debtors having

received such benefits did not increase their “net worth,” nor did such benefits increase the

Debtors’ assets in any way that could be used to pay their creditors. Rather, Debtors transferred




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to Marquette $21,084.00 (assuming that this was property of the Debtors, a disputed issue

discussed in part IV-B-1 of this opinion,) and they received no economic value in exchange.

       Many cases hold, in similar situations, that there is not “reasonably equivalent value”

received by a debtor who makes payments to a family member, or who makes payments to a third

party for the benefit of a family member. For example, in Dietz v. St. Edward’s Catholic Church

(In re Bargfrede), 117 F.3d 1078, 1079 (8th Cir. 1997), a husband used his assets to help pay his

wife’s judgment debt to her church for embezzlement. The Eighth Circuit held that the

husband’s claimed receipt of “benefits in the form of a release of a possible burden on the marital

relationship and the preservation of the family relationship” were “indirect, non-economic

benefits” to the husband that “do not constitute reasonably equivalent value.” Id. at 1080

(citations omitted). The court cited with approval cases holding that “moral obligations,” “love

and affection,” and “spiritual fulfillment” are not reasonably equivalent value. Id. See also

Walker v. Treadwell (In re Treadwell), 699 F.2d 1050, 1051 (11th Cir. 1983)(holding that

debtor’s receipt of “love and affection” from his two daughters in exchange for transfers of

money was not reasonably equivalent value; such love and affection “is of no benefit to the

creditors”); Zubrod v. Kelsey (In re Kelsey), 270 B.R. 776, 781 (B.A.P. 9th Cir. 2001)(debtor

transferred money to his wife, in exchange for her agreement “to forego employment outside the

home, to take care of the family, and to provide comfort, advice, and society as [debtor’s] wife;”

court held that debtor did not receive reasonably equivalent value: “value is limited to economic

or monetary consideration, and . . . the care and comfort one receives from a marital relationship

does not qualify”); Hanrahan v. Walterman (In re Walterman Implement, Inc.), No. 07-09043,

2007 WL 2901151, at *3 (Bankr. N.D. Iowa Sept. 28, 2007)(debtor corporation’s sole


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shareholder caused the corporation to pay his daughter’s college expenses, in exchange for

daughter’s “love, affection, and promise to work hard in school;” court distinguished reasonably

equivalent value under § 548 from “legal consideration necessary to form a legally binding

contract,” and held that reasonably equivalent value requires “a financial benefit to the debtor

and thus to the creditors,” and “love and affection will rarely, if ever, constitute reasonably

equivalent value because they are of no use to creditors”); Henkel v. Green (In re Green), 268

B.R. 628, 651 (Bankr. M.D. Fla. 2001)(debtors “understandably felt a moral or family

obligation” to pay for their daughter’s wedding or to make a sizeable wedding gift, but satisfying

such a moral obligation is not reasonably equivalent value, nor is “love and affection”).

       Nor can Marquette demonstrate that any alleged benefit to Debtors “is concrete and

quantifiable . . . .” Lisle, 196 Fed.App’x at 342; see also Pension Transfer Corp. v. Beneficiaries

Under the Third Amendment to Fruehauf Trailer Corp. Retirement Plan No. 003 (In re Fruehauf

Trailer Corp.), 444 F.3d 203, 214 (3d Cir. 2006)(“[W]here value of intangible benefit could

equal or exceed the value surrendered. . . , precise calculations are essential to allow the court to

determine equivalency properly.”); Dayton Title Agency, Inc. v. White Family Cos., Inc. (In re

Dayton Title Agency, Inc.), 292 B.R. 857, 875 (Bankr. S.D. Ohio 2003)(“[T]he economic value

of any indirect benefits must be fairly concrete and quantifiable to merit consideration by the

court.”) (citing SPC Plastics Corp. v. Griffith (In re Structurelite Plastics Corp.), 224 B.R. 27, 31

(B.A.P. 6th Cir. 1998)).




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       While Marquette claims that Debtors received value in the form of the “substantial

benefit conferred upon parents when their child is educated,”24 Marquette did not attempt to

quantify this value in any manner. When questioned during the hearing on the motions about

how to value this claimed indirect benefit, Marquette’s counsel replied only that it would be an

“extremely difficult determination.” Speculative and unquantifiable claims of psychological

benefits cannot meet Marquette’s burden. See, e.g., SPC Plastics Corp., 224 B.R. at 31 (where

no evidence provided as to the value of indirect benefits, claim that the opportunity to acquire

additional loans and receive new management talent found to be “speculative value”); Dayton

Title, 292 B.R. at 875 (no attempt made “to measure or quantify” claims of “goodwill and

continuation of business relationships,” instead fraudulent conveyance defendants “only

speculate[d], without evidentiary support,” that the value was reasonably equivalent).

       For these reasons, the Court must reject Marquette’s argument, and in fact must conclude

that the Debtors did not receive reasonably equivalent value in exchange for any of the transfers

at issue. This is so with respect to the Trustee’s fraudulent transfer claims based on Bankruptcy

Code § 548 as well as his claims based on Michigan’s fraudulent transfer statutes.

       4. Conclusion regarding Marquette’s summary judgment motion

       For the reasons discussed above, the Court must deny Marquette’s summary judgment

motion, with one exception. Marquette is entitled to summary judgment on all of the Trustee’s

fraudulent transfer claims with respect to the last of the four transfers alleged in the Trustee’s

complaint. As discussed in part I of this opinion, the evidence shows without dispute that this

$43.00 transfer was made on November 20, 2008, after Debtors’ bankruptcy petition was filed on


       24
            Docket # 37, Def.’s Br. at 3.

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November 17, 2008. Because that was a post-petition transfer, it cannot be avoided as a

fraudulent transfer under either § 548 or § 544(b)(1) of the Bankruptcy Code. And the Trustee’s

First Amended Complaint does not allege any other basis for avoiding this post-petition transfer.

       Section 548 applies only to transfers made “on or within 2 years before the date of filing

of the petition.” 11 U.S.C. § 548(a)(1)(emphasis added). So it does not apply to post-petition

transfers. E.g., Hoffman v. Cheek (In re Meltzer), 90 B.R. 21, 23 (D. Conn. 1988). The Trustee’s

claims based on Michigan’s fraudulent transfer statutes are made through Bankruptcy Code

§ 544(b)(1), and the Trustee’s avoidance power under that section are also limited to pre-petition

transfers. See Rieser v. Dinsmore & Shohl, LLP (In re Troutman Enters., Inc.), No. 05-8051)

2007 WL 205640, at *9, 10 (B.A.P. 6th Cir. January 26, 2007).

       For the reasons stated, the Court will grant summary judgment for Marquette on all of the

Trustee’s claims relating to the $43.00 transfer, but otherwise will deny Marquette’s summary

judgment motion.

C. The Trustee’s motion for partial summary judgment

       The Trustee seeks partial summary judgment, avoiding all four of the transfers as

fraudulent under the constructive fraudulent transfer grounds in Bankruptcy Code § 548(a)(1)(B)

and Mich. Comp. Laws § 566.35(1). The Trustee argues that each transfer was a transfer of

property of the Debtors, made while the Debtors were insolvent, for which the Debtors did not

receive reasonably equivalent value in exchange.

       The Trustee presented substantial evidence that the Debtors were insolvent when each of

the transfers was made. Marquette does not dispute the Trustee’s evidence, and does not dispute




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the Debtors’ insolvency. Based on this, the Court finds that the Debtors were insolvent when the

transfers were made.

       For the reasons discussed in part IV-B-3 of this opinion, the Court has found that the

Debtors did not receive reasonably equivalent value for any of the transfers. This leaves the

disputed issues of whether and to what extent the transfers were transfers of property of the

Debtors. For the reasons discussed in part IV-B-1 of this opinion, the Court concludes that there

is a genuine dispute of material fact on this element of the Trustee’s constructive fraudulent

transfer theories, with respect to the second and third transfers (i.e., the transfers of $11,084.00

and $10,000.00 on August 18, 2008 and November 5, 2008, respectively.) The Trustee’s motion

for partial summary judgment therefore must be denied with respect to these transfers.

       In contrast, the Trustee’s motion must be granted with respect to the first transfer — i.e.,

the transfer of $400.00 on May 8, 2008. There is no genuine dispute that this transfer was a

transfer of the Debtors’ property. As Marquette concedes, the May 8, 2008 transfer could not

possibly have been a transfer of proceeds from the August 2008 student loan, so Marquette’s oral

express trust argument does not apply to this transfer. The Trustee has demonstrated, beyond any

genuine dispute, all of the necessary elements for avoidance of the first transfer, under his

constructive fraudulent transfer theories.

V. Conclusion

       For the reasons stated in this opinion, the Court will enter an order (1) granting the

Trustee’s motion for partial summary judgment with respect to the first transfer (the $400.00

transfer on May 8, 2008), and otherwise denying the motion; and (2) granting Marquette’s




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motion for summary judgment with respect to the fourth transfer (the $43.00 post-petition

transfer on November 20, 2008), and otherwise denying the motion.

Signed on April 8, 2011                             /s/ Thomas J. Tucker
                                                    Thomas J. Tucker
                                                    United States Bankruptcy Judge




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